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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                Judge Philip A. Brimmer

  Civil Action No. 17-cv-01962-PAB-KMT

  JOE DOE,

         Plaintiff,

  v.

  UNIVERSITY OF DENVER,
  UNIVERSITY OF DENVER BOARD OF TRUSTEES,
  REBECCA CHOPP, individually and as agent for University of Denver,
  KRISTIN OLSON, individually and as agent for University of Denver,
  JEAN McALLISTER, individually and as agent for University of Denver,
  SIRI SLATER, individually and as agent for University of Denver, and
  ERIC BUTLER, individually and as agent for University of Denver,

       Defendants.
  _____________________________________________________________________

                      ORDER SETTING CASE FOR TRIAL
  _____________________________________________________________________

         This matter has been scheduled for a seven-day jury trial on the docket of Judge

  Philip A. Brimmer in the U.S. District Courthouse, Courtroom A701, 7th Floor, 901 19th

  Street, Denver, Colorado, to commence on November 18, 2019 at 8:00 a.m. The

  Court typically does not hold trial on Fridays.

         A Trial Preparation Conference is set for November 1, 2019 at 1:30 p.m.

  Counsel who will try the case shall attend in person.

         In the absence of a previously-imposed deadline, all motions to exclude expert

  testimony must be filed sixty days before the trial preparation conference.
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           Transcripts filed in support of objections to designations of deposition testimony

  must include the portion of the transcript containing the testimony with the testimony

  highlighted.

           Any summary exhibits to be introduced pursuant to Fed. R. Evid. 1006 shall be

  exchanged sixty days before trial; any summary exhibits responding to an opponent’s

  summary exhibits shall be exchange thirty days later.

           Fourteen days before the trial preparation conference, counsel and any pro se

  party shall submit proposed jury instructions and verdict forms. The jury instructions

  shall identify the source of the instruction and supporting authority, e.g. § 103, Fed. Jury

  Practice, O’Malley, Grenig, and Lee (5th ed.). The parties shall submit their instructions

  and verdict forms both via CM/ECF and by electronic mail to

  brimmer_chambers@cod.uscourts.gov in Word Perfect format (Word Perfect 12 or a

  later version) or Word format. Verdict forms shall be submitted in a separate file from

  jury instructions. Within the jury instruction file, each jury instruction shall begin on a

  new page.

           Each instruction should be numbered (e.g., “Plaintiff’s Instruction No. 1”) for

  purposes of making a record at the jury instruction conference. The parties shall

  attempt to stipulate to the jury instructions, particularly “stock” instructions and verdict

  forms.

           In diversity cases where Colorado law applies, please submit instructions and

  verdict forms that conform to CJI-Civ 4th.




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         Seven days before the trial preparation conference, the parties shall file via

  CM/ECF (1) their proposed voir dire questions; (2) their witness lists; and (3) their

  exhibit lists. Forms of the witness and exhibit lists are found at

  http://www.cod.uscourts.gov/Judges/Judges.aspx. Please add at least ten additional

  blank rows at the end of the exhibit list to accommodate any additional exhibits that

  may be introduced at trial.

         Two days after witness lists are filed, the parties shall file estimates of time

  required for their cross-examination of the opposing party’s witnesses.

         To the extent the deadlines and other provisions of this order conflict with this

  Court’s Practice Standards, this order shall control.

         The parties shall be prepared to address the f ollowing issues at the Trial

  Preparation Conference:

         1)     jury selection;

         2)     sequestration of witnesses;

         3)     timing of presentation of witnesses and evidence;

         4)     anticipated evidentiary issues;

         5)     any stipulations as to fact; and

         6)     any other issue affecting the duration or course of the trial.


         DATED February 5, 2019.

                                             BY THE COURT:


                                              s/Philip A. Brimmer
                                             PHILIP A. BRIMMER
                                             United States District Judge

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